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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

JEREMY ELLIS,

      Plaintiff,

v.                                                  Case No.: 8:22-cv-2508

HILLSBOROUGH COUNTY
SHERIFF’S OFFICE,

      Defendant.
                                 /

                                     COMPLAINT

      Plaintiff, JEREMY ELLIS, hereby sues Defendant, HILLSBOROUGH

COUNTY SHERIFF’S OFFICE (“Defendant”) and alleges:

                                 JURISIDICTION

      1.     This action is brought pursuant to Title VII of the Civil Rights Act of

1964, 42 U.S.C §§2000e et seq.

      2.     This Court has jurisdiction over this matter pursuant to Title VII of the

Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.

      3.     Venue is proper because all of the facts and allegations that form the

basis of this Complaint occurred within the Middle District of Florida.
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                            CONDITIONS PRECEDENT

      4.     Plaintiff has satisfied all conditions precedent to the filing of this action

in that he dual filed a charge of discrimination with the Equal Employment

Opportunity Commission (“EEOC”) and the Florida Commission on Human

Relations (“FCHR”) on December 21, 2021 (Charge No. 511-2022-00331) and

another on July 27, 2022 (Charge No. 511-2022-01757). A Determination and

Notice of Rights was issued by the EEOC as to Charge 511-2022-00331 on February

7, 2022 and Charge 511-2022-01757 on August 5, 2022.

                                   THE PARTIES

      5.     Plaintiff, JEREMY ELLIS is a resident of Florida. At all times relevant

herein, he worked in Florida for Defendant. He is a member of a protected class

based on his religion, his disability, and because he engaged in protected activity by

reporting discrimination.

      6.     At all times pertinent hereto, Defendant has been organized and existing

under the laws of the State of Florida. At all times pertinent to this action, Defendant

has been an employer as this term is used under the applicable laws.

                  STATEMENT OF THE ULTIMATE FACTS

      7.     Mr. Ellis was hired by Defendant on or about October 1, 2007 to work

as a Community Service Officer; he went on to become a Detention Deputy in

November 2010.
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         8.    Mr. Ellis has had intermittent Family Medical Leave Act (“FMLA”)

approval through Defendant since 2016 related to a disability, but he did not always

utilize the leave when needed due to derogatory comments his supervisor would

make about his taking leave.

         9.    In or around 2020, Mr. Ellis converted to the Sunni sect of the Islam

faith.

         10.   On November 16, 2020, Mr. Ellis sent a memo to Sheriff Chad

Chronister suggesting that Defendant’s policy, GEN 117.00, be revised so that it

complied with the Crown Act with respect to hair texture and style.

         11.   Also on November 16, 2020, Mr. Ellis submitted a request to Defendant

for an exception to GEN 117.00 so that he could grow a beard, as is required by his

religion. In his request, he noted that GEN 117.00 allows for medical exceptions, but

does not address religious exceptions.

         12.   On December 9, 2020, Defendant approved Mr. Ellis’s initial request

for religious accommodations in order to grow his beard, with a requirement that the

accommodation request be re-submitted in 6 months.

         13.   On March 12, 2021, Mr. Ellis submitted an updated request to

Defendant for an exception to GEN 117.00 so that he could grow a beard, as is

required by his religion. In his request, Mr. Ellis noted that GEN 117.00 had recently

been revised to include religious accommodations.
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      14.    On March 22, 2021, a Facial Hair Religious Accommodations Request

form was completed by Shannon Kelley, Personal Health & Wellness Manager,

which included details as to the requirement for men of the Sunni sect of Islam to

grow a specific type of beard.

      15.    On March 29, 2021, Chaplain Jim Farr completed an interview of Mr.

Ellis relating to Mr. Ellis’s requests for facial hair accommodations; Chaplain Farr

made no recommendation as to whether the request should be approved or denied.

      16.    On May 5, 2021, Corporal James Litten recommended that Mr. Ellis’s

request for a religious accommodation for facial hair be granted, provided his beard

conform with GEN 117.00.

      17.    On May 11, 2021, Mr. Ellis’s updated request for religious

accommodations in order to grow his beard was approved.

      18.    Mr. Ellis filed a formal grievance with human resources regarding his

belief that he was being discriminated against related to overtime based on his

disabling condition and need for FMLA.

      19.    On November 9, 2021, Mr. Ellis submitted an updated request to

Defendant for an exception to GEN 117.00 so that he could grow a beard, as is

required by his religion.

      20.    As had taken place in the past, a Facial Hair Religious Accommodation

Request and Chaplain Interview Questions were completed in connection with the
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updated request for accommodations. It was noted by the Chaplain that Mr. Ellis

was very cordial, and not upset that the interview was past due.

      21.       Also in November 2021, there was a meeting between Defendant and

Mr. Ellis, during which he was suspended from working any overtime for a period

of 30 days, in retaliation for his having taken leave pursuant to the FMLA.

      22.       On December 21, 2021, Mr. Ellis filed a Charge of Discrimination with

the EEOC and FCHR alleging that Defendant was discriminating against him based

upon his disability, his religion and retaliating against him because of his need for

accommodations and complaints about discrimination.

      23.       On April 6, 2022, during the month of Ramadan, Mr. Ellis reported to

work wearing his Kufi, in recognition of his religion.

      24.    Ramadan is an important religious holiday for the Sunni faith.

      25.    Mr. Ellis was ordered by his supervisors to remove his Kufi or go home;

he chose to go home. The prior year Mr. Ellis had been denied the ability to wear his

Kufi as well.

      26.    When Mr. Ellis reported for his shift on April 11, 2022, he was served

with notification of investigation for refusal of a direct order.

      27.    On May 10, 2022, Mr. Ellis was served with a second investigation and

charged with public disparagement and falsification of an official document.
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      28.    On May 13, 2022, Mr. Ellis was interviewed regarding the first

investigation, which now included additional charges of failure to follow the

standard operating procedures (SOPs), by failing to complete post logs.

      29.    Mr. Ellis was informed during a June 2, 2022 pre-disciplinary hearing

that a five (5) day suspension was in fact the discipline to be applied.

      30.    Mr. Ellis appealed Defendant’s discipline through the proper channels

but the decision was nevertheless upheld.

      31.    On June 8, 2022, Mr. Ellis was interviewed in connection with the

second investigation, during which he was informed that once again, additional

charges of failure to follow SOPs.

      32.    During the June 8, 2022 interview, Mr. Ellis was also informed that the

allegations of public disparagement and falsification of an official document were

directly related to the Charge of Discrimination he had filed with the EEOC on

December 21, 2021.

      33.    On July 6, 2022, Mr. Ellis was informed that the recommendation for

discipline related to this second investigation was termination/dismissal.

      34.    Mr. Ellis attended a disciplinary hearing on July 18, 2022, during which

the charges were deemed sustained.

      35.    The final and official justifications Defendant provided for Mr. Ellis’s

termination was that he was charged with refusal to follow a direct order and failure
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to follow SOPs with respect to the first investigation, and in connection with the

second investigation, the charges of public disparagement, falsification of an official

document and failure to follow SOPs.

      36.    Mr. Ellis filed a second charge of discrimination on July 27, 2022

regarding the ongoing religious discrimination and the retaliation he was subjected

to for reporting the discrimination and his prior EEOC Charge.

      37.    On August 16, 2022, Mr. Ellis was terminated by Defendant based in

retaliation for his prior and continuing claims of discrimination and because he

continued to request religious accommodations.

                         COUNT I
     RELIGIOUS DISCRIMINATION IN VIOLATION OF TITLE VII

      38.    Paragraphs 1-37 are realleged and incorporated herein by reference.

      39.    Defendant discriminated against Plaintiff on the basis of his religion

with respect to the terms, conditions, and privileges of his employment in violation

42 U.S.C. § 2000e-2(a).

      40.    Plaintiff is a member of a protected class within the meaning of the

applicable law.

      41.    The effect of these unlawful employment practices by Defendant has

been to deprive Plaintiff of equal employment opportunities and other terms,

conditions, and privileges of his employment.
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       42. As a direct and proximate result of Defendant’s conduct described

above, Plaintiff has suffered emotional distress, mental pain and suffering, past and

future pecuniary losses, inconvenience, and other non-pecuniary losses, along with

lost back pay and front pay, interest on pay, bonuses and other benefits. These

damages have occurred in the past, are permanent and continuing. Plaintiff is entitled

to injunctive and equitable relief.

                                COUNT II
                  RETALIATION IN VIOLATION OF TITLE VII

        43. Paragraphs 1-37 are realleged and incorporated herein by reference.

        44. Defendant retaliated against Plaintiff because he engaged in protected

conduct with respect to terms, conditions, and privileges of his employment in

violation 42 U.S.C. § 2000e-5(k).

        45. Plaintiff is a member of a protected class within the meaning of the

applicable law.

        465. The effect of these unlawful employment practices by Defendant has

been to deprive Plaintiff of equal employment opportunities and other terms,

conditions, and privileges of his employment.

        47. As a direct and proximate result of Defendant’s conduct described

above, Plaintiff has suffered emotional distress, mental pain and suffering, past and

future pecuniary losses, inconvenience, and other non-pecuniary losses, along with

lost back pay and front pay, interest on pay, bonuses and other benefits. These
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damages have occurred in the past, are permanent and continuing. Plaintiff is entitled

to injunctive and equitable relief.

                              PRAYER FOR RELIEF

    WHEREFORE, Plaintiff requests that this Court grant the following relief:

       (a) that process issue and this Court take jurisdiction over this case;

       (b) that this Court grant equitable relief against Defendant under the

applicable counts set forth above, mandating Defendant’s obedience to the laws

enumerated herein and providing other equitable relief to Plaintiff;

       (c) enter judgment against Defendant and for Plaintiff awarding all legally-

available general and compensatory damages and economic losses to Plaintiff from

Defendant for Defendant’s violations of law enumerated herein;

       (d) enter judgment against Defendant and for Plaintiff permanently enjoining

Defendant from future violations of law enumerated herein;

       (e) enter judgment against Defendant and for Plaintiff awarding Plaintiff

attorney's fees and costs; and

       (f) grant such other further relief as being just and proper under the

circumstances.

                        DEMAND FOR TRIAL BY JURY

      Plaintiff hereby demands a trial by jury on all issues herein that are so triable.

      DATED this 3rd day of November 2022.
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                                          Respectfully submitted,

                                          /s/ Tiffany R. Cruz
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